                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

    TIMES PUBLISHING COMPANY

    v.                                            CASE NO. 8:23-mc-00014-WFJ-SPF

    UNITED STATES OF AMERICA

               UNITED STATES OF AMERICA’S RESPONSE TO
                MOTION TO INTERVENE AND TO OBTAIN
                ACCESS TO SEARCH WARRANT RECORDS

         The United States of America, pursuant to this Court’s May 15, 2023

Order, doc. 5, hereby responds to and opposes aspects of the Times Publishing

Company’s Motion to Intervene for the Limited Purpose of Obtaining Access to Search

Warrant Court Records with Supporting Memorandum of Law (“Motion to Unseal”),

filed May 12, 2023. Doc. 1. The Motion to Unseal requests that this Court

permit the Times Publishing Company (“The Times”) to intervene in the

processes of a United States’ ongoing criminal investigation for the purpose of

moving to unseal all court documents related to a search warrant executed at a

Tampa residence on May 8, 2023, 1 including: (1) the search warrant; (2) the

search warrant application; (3) any motion to seal search warrant-related records;

(4) any resultant order regarding a motion to seal; (5) any search warrant returns;




1
 The search warrant at issue was executed at 5914 North Tampa Street, Tampa, FL 33604, the
residence of a former reporter and a Tampa City Councilwoman.
and (6) all probable cause affidavits (the “PC Affidavit”) filed in support of

obtaining the search warrant. 2

       The Times separately filed an accompanying motion for oral argument on

its Motion to Unseal. Doc. 2. The United States does not object to that motion for

oral argument but does believe that oral argument is unnecessary here, given the

agreements between the United States and The Times, as set forth below, and the

limited scope of the remaining issue concerning the PC Affidavit, which has been

fully briefed by both parties. 3

I.     INTRODUCTION

       In the interest of transparency, as well as the principle that limitations on

public access to judicial proceedings should be “narrowly tailored,” Globe

Newspaper Co. v. Superior Court, 457 U.S. 596, 606-07 (1982), the United States

does not object to The Times’s request for permission to intervene in this matter

to request this Court to unseal search warrant-related records. Further, except for

proposed narrowly tailored redactions to three of the Search Warrant Records for

the reasons discussed below, the United States does not object to The Times’s

request to unseal the first five (of six) items listed in its Motion to Unseal,


2
 The court documents are collectively referred to in the Motion to Unseal as the “Search Warrant
Records.” The United States will likewise collectively refer to the documents in this filing.
3
 To the extent the Motion to Unseal asserts that there exists “so much publicity surrounding the
search,” doc. 1 at 12, that assertion overstates the coverage. The execution of the search and seizure
at issue has generated only limited publicity concerning the event itself and some other baseless
speculation.


                                                  2
specifically: (1) the search warrant (with minor redactions); (2) the search warrant

application (with minor redactions); (3) the motion to seal search warrant-related

records; (4) the resultant order regarding that motion to seal; and (5) the search

warrant return (with redactions). In that regard, the United States has entered into

an agreement with The Times for those five Search Warrant Records to be

unsealed, see doc. 13, and has filed a motion with the assigned magistrate judge,

requesting that the records be unsealed in accordance with that agreement.

      Notwithstanding, for the reasons explained below, the United States does

oppose The Times’s effort to unseal the PC Affidavit submitted in support of the

United States’ search warrant application. That affidavit must remain sealed to

protect and safeguard the integrity of the ongoing federal criminal investigation,

the safety and security of law enforcement personnel, the privacy of unnamed

and uncharged subjects of the investigation, and the privacy of third-party fact

witnesses and victims.

II.   MINOR REDACTIONS WERE APPROPRIATELY MADE TO
      CERTAIN DOCUMENTS PRIOR TO UNSEALING

      A.     The Search Warrant

      Prior to reaching any agreement with The Times concerning its Motion to

Unseal, the United States conferred with counsel representing the subject

identified in Attachment B to the search warrant. Per that subject’s counsel, there

was no objection to the subject being identified in the search warrant should it be


                                          3
unsealed, though counsel did request that any telephone number associated with

the subject be redacted. The United States and The Times, through its counsel,

Jon M. Philipson, conferred and concurred with that position.

      B.     The Search Warrant Application and Search Warrant Return

      The United States also had no objection to the search warrant application

and the search warrant return being unsealed, provided that any names and

signatures of any federal special agents and any internal Federal Bureau of

Investigation (“FBI”) investigative numbers or identifiers be redacted from those

two documents prior to their unsealing. Minor but important redactions are often

necessary to protect the identity and personal safety of a federal special agent or

other law enforcement officer.

      Specifically, information in the search warrant application or in a search

warrant return that would identify federal agents involved in a criminal

investigation could unnecessarily subject those agents to harassment, reprisal, or

retribution. Further, it is appropriate at this juncture that any internal

identification number or identifier utilized by the FBI be redacted from the search

warrant return, given that such identifiers are used only for internal FBI tracking

and reporting purposes. The United States conferred with Mr. Philipson who

confirmed that The Times had no objection to the proposed redactions to the

search warrant application and the search warrant return prior to the documents

being unsealed.

                                            4
III.   THE PC AFFIDAVIT SHOULD REMAIN SEALED TO PROTECT
       THE INTEGRITY OF THE ONGOING INVESTIGATION AND
       FOR OTHER PURPOSES

       As acknowledged in The Times’s Motion to Unseal, a search warrant

affidavit can be sealed if the Court determines in clearly articulated findings that

closure serves a compelling interest and is no greater than necessary to serve that

interest. Doc. 1 at 8-11; see also Newman v. Graddick, 696 F.2d 796, 803 (11th Cir.

1983) (“right to inspect and copy records is not absolute....” “As with any other

form of access, it may interfere with the administration of justice and hence

may have to be curtailed.”); Globe Newspaper Co., 457 U.S. at 606 (right of access

to criminal trials is of constitutional stature but not absolute); and see, e.g., In re:

Search of WellCare Health Plans Inc., Case No. 8:07-mj-01466-TGW, Doc. 7 at 3-

7; and In re Search of Office Suites for World & Islam Studies, 925 F. Supp. 738, 742

(M.D.Fla. 1996).

       Here, in deciding whether to grant the Motion to Unseal, this Court should

balance the historical presumption of access against “the government’s

compelling interest in the protection of a continuing law enforcement

investigation.” United States v. Valenti, 987 F.2d 708, 712-714 (11th Cir.), cert.

denied, 114 S.Ct. 289 (1993) (ongoing law enforcement investigation is a

compelling government interest justifying denial of newspaper’s access to

transcripts of closed proceedings); and see, e.g., In re: Search of WellCare Health

Plans Inc., Case No. 8:07-mj-01466-TGW, Doc. 7 (referencing Valenti and noting

                                            5
that the Eleventh Circuit has recognized prejudice to an ongoing investigation as

compelling reason for closure); In re Search of Office Suites For World & Islam

Studies, 925 F. Supp. at 741-743 (same).

          The necessity for maintaining the seal on the PC Affidavit is particularly

compelling and far outweighs any party’s right of access at this juncture. Indeed,

the Eleventh Circuit, in addressing a pre-indictment challenge to grand jury

proceedings, has explained the importance of maintaining secrecy during a

federal criminal investigation:

                  The courts’ concern for grand jury secrecy and for the grand
                  jury’s law enforcement function is generally greatest during
                  the investigative phase of grand jury proceedings. Premature
                  disclosure while an investigation is pending may frustrate
                  the investigation by allowing the persons under investigation
                  to escape, to suborn perjury, or to bribe or intimidate
                  potential witnesses or members of the grand jury. Premature
                  disclosure may also damage the reputations of persons the
                  grand jury’s final investigation may exonerate. 4

Blalock v. United States, 844 F.2d 1546, 1550 n.5 (11th Cir. 1988).

          The lengthy and detailed PC Affidavit contains many particulars of the

ongoing criminal investigation, including the scope and focus of certain aspects

of the investigation, information about multiple individuals who are or may

become subjects of the investigation, references to one or more potential

witnesses and victim entities, and other specific information which, if known by

any person or party, could be used to undermine and hobble the United States’


4
    Similar grand jury secrecy concerns exist in the ongoing investigation.

                                                     6
legitimate and significant investigative efforts. See, i.e., In re Search of Office Suites

For World & Islam Studies, 925 F. Supp. at 743 (the United States’ reasons for

sealing the search warrant affidavit are compelling and far outweigh press’s right

of access where affidavit contains identifications of subjects, scope and direction

of investigation, and references to witnesses). Indeed, the conduct set forth in the

PC Affidavit reveals an investigation that may, if properly safeguarded, extend

well beyond the specific facts and events described therein.

       Unsealing the PC Affidavit at this time could also lead to other unintended

negative consequences that would undermine the investigation, such as

corroding the quality of recollections maintained by potential witnesses and

victims. One of the primary goals of the ongoing criminal investigation is to

determine multiple individuals’ complete and truthful independent recollections of

certain events and issues, absent external information, pressure, or education,

and to preserve those recollections via special agent reports or sworn testimony

before the grand jury. Informing said potential witnesses and victims of

information already secured by the United States in an investigation could

unintentionally pollute the criminal investigation by impacting the recollections

of the potential witnesses and victims.

       In addition, the Supreme Court has long recognized that premature

disclosure of investigative information creates a risk that “persons who are

accused but exonerated” may be “held up to public ridicule.” Douglas Oil Co. v.

                                             7
United States, 441 U.S. 211, 219 (1978); see also, e.g., United States v. Steinger, 626

F.Supp. 2d at 1231, 1235 (disclosure of names of subjects and of matters being

investigated “could have devastating consequences for those persons who have

been cleared of any misconduct, as well as for those still under investigation”).

Those risks and potential consequences exist here, in that the PC Affidavit

contains significant information about other persons and entities that could be

utilized to identify and harm their privacy and reputational interests if disclosed. 5

       Moreover, neither redaction of, nor extraction of excerpts from, the PC

Affidavit is appropriate at this juncture of the investigation as neither would

sufficiently protect the government’s compelling interests in the ongoing federal

criminal investigation and could expose other individuals and entities to

unnecessary harms and harassment. The lengthy and detailed PC Affidavit is

drafted and structured in such a manner that to simply redact names or to extract

excerpts from the affidavit would still reveal significant and detailed aspects of

the investigation to date, including the current scope, direction, and focus of the

investigation, and could potentially reveal the identity of one or more potential

subjects and/or cooperating witnesses and victims. Thus, such information, if

revealed, would irreparably harm the integrity of the ongoing criminal

investigation, the safety and security of law enforcement personnel, the privacy


5
 Protecting the identities of the uncharged is also consistent with government counsel’s professional
responsibilities. See Justice Manual § 9-27.760 (“Limitation on Identifying Uncharged Third-Parties
Publicly”).

                                                  8
of unnamed and uncharged subjects, and the privacy of third-party fact witnesses

and victims. See, e.g., In re: Search of WellCare Health Plans Inc., Case No. 8:07-mj-

01466-TGW, Doc. 7 at 3-7; and see In re Search of Office Suites For World & Islam

Studies, 925 F. Supp. at 743-744.

      WHEREFORE, that aspect of The Times’s Motion to Unseal that requests

this Court unseal the PC Affidavit supporting the search warrant should be

denied. The United States respectfully requests that this Court enter an Order

denying that aspect of the Motion to Unseal and articulating that, having

considered other less restrictive means to protect the United States’ ongoing

investigation, such as, redaction of names and extraction of excerpts, the United

States’ reasons for maintaining the seal as to the PC Affidavit are compelling and

outweigh the press’s right of access, in that the PC Affidavit contains many

particulars of the ongoing criminal investigation, including information about the

scope and focus of the United States’ ongoing criminal investigation that could

be used to undermine and hobble that investigation, as well as other information




                                           9
that could cause harm or impede individuals who are presently considered

subjects, third-party witnesses, or victims of the conduct under investigation.

                                         Respectfully submitted,

                                         ROGER B. HANDBERG
                                         United States Attorney


                                    By: /s/Jay G. Trezevant
                                        Jay G. Trezevant
                                        Assistant United States Attorney
                                        Florida Bar No. 0802093
                                        400 N. Tampa Street, Suite 3200
                                        Tampa, Florida 33602-4798
                                        Telephone: (813) 274-6000
                                        Facsimile: (813) 274-6358
                                        E-mail: jay.trezevant@usdoj.gov




                                        10
Times Publishing Company v. U.S.                 Case No. 8:23-mc-00014-WFJ-SPF

                            CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2023, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

              Jon M. Philipson, Esq.


                                        /s/ Jay G. Trezevant
                                        Jay G. Trezevant
                                        Assistant United States Attorney
